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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

ELIZABETH DICKERHOFF AND
ABIGAIL DAVIDSON
                                               No. 1:21-CV-00017-SHL-SBJ
Plaintiffs,

vs.

AMERCO, et al.,

                    Defendants.


         JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Abigail

Davidson and Defendants U-Haul Co. of Wisconsin, Inc., U-Haul International, Inc.,

and U-Haul Holding Company, f/k/a AMERCO hereby jointly stipulate to the

dismissal WITH PREJUDICE of all Plaintiff’s claims against Defendants in this

action, each party to bear its own attorneys’ fees and costs.

       Respectfully submitted on June 29, 2023.




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